                UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
 In the Matter of:                                   In Bankruptcy:
 CHANTEL RENAE DRAKE                                 Case No. 18-52473-mlo
                                                     Chapter 7
                                                     Hon. Maria L. Oxholm
       Debtor


                ORDER AUTHORIZING COMPROMISE
       THIS MATTER having come before the Court upon the Trustee’s

 Motion for Order Authorizing Trustee to Compromise Estate’s Interest in

 Real Property (the “Motion”), Notice of the Motion having been served on

 all creditors and parties in interest listed on the court’s mailing matrix, no

 objections nor requests for hearing having been filed, and the Court being

 otherwise duly advised in this matter,

       IT IS HEREBY ORDERED that the Motion is GRANTED and the

 Trustee is authorized to execute a settlement agreement pursuant to the

 Motion, and therefore settle the estate’s interest in 17055 George

 Washington, Southfield, MI 48075 (the “Property”).

       IT IS FURTHER ORDERED that within 7 days of entry of this

 Order, the Debtor shall amend her Schedule A/B and C to disclose her one-




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 half interest in the Property, and shall claim an exemption in the amount of

 $38,225.00 under Mich. Comp. Laws § 600.5451(1)(m)

       IT IS FURTHER ORDERED that Debtor shall remit to the Trustee

 the sum of $15,000.00 within sixty (60) days following entry of an order

 approving this compromise. Debtor shall also provide to the Trustee her

 2018 state and federal income tax returns within seven (7) days of filing, and

 shall remit any refunds received to the Trustee within seven (7) days of

 receipt. All funds shall be made payable to “Wendy Turner Lewis, Trustee”

 and sent to Trustee’s counsel Peter F. Schneider at 645 Griswold St., Suite

 3900, Detroit MI 48226.

       IT IS FURTHER ORDERED that if the Debtor defaults on timely

 delivery of the above amounts, upon written notice of the default, sent to the

 Debtor, care of her counsel of record, and upon Debtor’s failure to timely

 cure said default within 14 days, judgment in the amount of $15,000.00 plus

 the amount of any tax refunds due to the Debtor that are property of the

 estate (less any payments received prior to default), as well as attorney’s fees

 and all other associated costs for the collection of the amount due shall enter

 against the Debtor, and the Trustee shall be entitled to pursue liquidation of

 the Property to satisfy said judgment.




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 IT IS FURTHER ORDERED that this Order shall have the same effect as

 a Judgment entered under Fed. R. Bankr. P. 7054, and all post-judgment

 remedies available at law shall be available to the Trustee or Trustee’s

 assigns if Debtor defaults under the terms of this Order.		

 Signed on January 04, 2019

 	




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